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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA


SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE
COLLECTIVE, on behalf of itself and
its members, et al.
                                               No. 1:19-cv-02973-SCJ
                   Plaintiffs,

       v.

BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.

                   Defendants.


                                   ANSWER
      Defendants Brian Kemp, Christopher M. Carr, Kathleen Toomey, the

Members of the Georgia Composite Medical Board, LaSharn Hughes, Julia
Slater, Daniel Porter, and Meg Heap (all sued in their official capacities)

respectfully submit this Answer as a responsive pleading pursuant to Federal

Rule of Civil Procedure 12.

                                 INTRODUCTION

      1.    Defendants admit that this action is a constitutional challenge to

House Bill 481 (“H.B. 481”), the text of which speaks for itself. Defendants

deny all allegations in the complaint that killing a living unborn child
constitutes “medical care” or “health care.” Otherwise denied.



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      2.      The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. To the extent a

response is required, the allegations are denied.

      3.      This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

      4.      Admitted.

      5.      Denied.

      6.      This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

                          JURISDICTION AND VENUE

      7.      Admitted.

      8.      Admitted.

      9.      Admitted.

                                 PLAINTIFFS

      10.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations
are denied.

      11.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations
are denied.



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      12.     Defendants lack sufficient knowledge or information to admit or
deny these allegations. To the extent a response is required, the allegations

are denied.

      13.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      14.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      15.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      16.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      17.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      18.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.




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      19.     Defendants lack sufficient knowledge or information to admit or
deny these allegations. To the extent a response is required, the allegations

are denied.

      20.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

      21.     Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, the allegations

are denied.

                                DEFENDANTS

      22.     Admitted that Brian Kemp is the Governor of the State of
Georgia and is sued in his official capacity. The legal authorities cited in this

paragraph speak for themselves.

      23.     Admitted that Christopher Carr is the Attorney General of the
State of Georgia and is sued in his official capacity. The legal authorities

cited in this paragraph speak for themselves.

      24.     Admitted that Kathleen Toomey is the Commissioner for
Georgia’s Department of Public Health and is sued in her official capacity.

The legal authorities cited in this paragraph speak for themselves.




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      25.     Admitted that the named individuals are the Members of the
Georgia Composite Medical Board and are sued in their official capacities.

The legal authorities cited in this paragraph speak for themselves.

      26.     Admitted that LaSharn Hughes is the Executive Director of the

Georgia Composite Medical Board and is sued in her official capacity. The

legal authorities cited in this paragraph speak for themselves.

      27.     The legal authorities cited in this paragraph speak for

themselves.

      28.     Mr. Howard is not a party to this pleading and therefore no
response is required to this paragraph.

      29.     Ms. Boston is not a party to this pleading and therefore no

response is required to this paragraph.

      30.     Admitted that Ms. Slater is the District Attorney for the

Chattahoochee Judicial Circuit and is sued in her official capacity. Otherwise

denied for lack of knowledge.

      31.     Mr. Melvin is not a party to this pleading and therefore no

response is required to this paragraph.

      32.     Admitted that Mr. Porter is the District Attorney for the
Gwinnett Judicial Circuit and is sued in his official capacity. Otherwise

denied for lack of knowledge.




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      33.   Admitted that Ms. Heap is the District Attorney for the Eastern
Judicial Circuit and is sued in her official capacity. Otherwise denied for lack

of knowledge.

                        STATUTORY FRAMEWORK

      34.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

      35.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

      36.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

      37.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

      38.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.




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     39.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

     40.   The cited authorities speak for themselves. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.

     41.   The cited authorities speak for themselves. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.

     42.   The cited authorities speak for themselves. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.

     43.   The cited authorities speak for themselves. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.

     44.   The cited authorities speak for themselves. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.
                        FACTUAL ALLEGATIONS


     45.   Denied.




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      46.   The allegations in this paragraph, especially the generic
references to “women” and “some women,” are too vague and ambiguous to

permit a response. To the extent a response is required, Defendants admit

that women have varying motivations for seeking an abortion but otherwise

deny the allegations in this paragraph.

      47.   Defendants lack sufficient knowledge or information to admit or

deny these allegations. The cited documents speak for themselves. Otherwise

denied.

                            Medical Background

      48.   Admitted.

      49.   Admitted.

      50.   The generic reference to “ultrasound” in this paragraph is too

ambiguous to permit a response as it does not refer to the specific type of

ultrasound equipment being discussed. To the extent a response is required,
the allegations in this paragraph are denied, as a fetal heartbeat may not be

detectable until 9 weeks lmp or even as late as 12 weeks depending on the
type of ultrasound equipment being used.

      51.   Denied to the extent this paragraph suggests that the challenged

legislation prohibits all abortions after six weeks lmp.

      52.   The allegations in this paragraph, especially the generic
references to “many women,” are too vague and ambiguous to permit a



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response. To the extent a response is required, denied. Further denied to the
extent this paragraph suggests that the challenged legislation prohibits all

abortions after six weeks lmp.

      53.   Admitted that six weeks lmp is approximately two weeks after a

missed period for women with regular four-week cycles. Otherwise denied.

Further denied to the extent this paragraph suggests that the challenged

legislation prohibits all abortions after six weeks lmp.

      54.   Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, denied. Further
denied to the extent this paragraph suggests that the challenged legislation

prohibits all abortions after six weeks lmp.

      55.   This paragraph contains legal conclusions to which no response is
required. To the extent a response is required, denied.

      56.   This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied. Further denied to the
extent this paragraph suggests that the challenged legislation prohibits all

abortions after six weeks lmp.

      57.   The cited documents speak for themselves. To the extent a
response is required, denied.

      58.   The cited documents speak for themselves. To the extent a

response is required, denied.




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      59.   The cited documents speak for themselves. To the extent a
response is required, denied.

                                Impact of H.B. 481

      60.   This paragraph contains legal conclusions to which no response is
required. To the extent a response is required, denied.

      61.   Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, denied.

      62.   Defendants lack sufficient knowledge or information to admit or
deny these allegations. To the extent a response is required, denied.

      63.   The paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.

      64.   The cited authority speaks for itself. This paragraph also

contains legal conclusions to which no response is required. To the extent a

response is required, denied.

      65.   The cited authority speaks for itself. This paragraph also

contains legal conclusions to which no response is required. To the extent a
response is required, denied.

      66.   The cited authority speaks for itself. This paragraph also

contains legal conclusions to which no response is required. Otherwise
denied.




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      67.   The cited authorities speak for themselves. This paragraph also
contains legal conclusions to which no response is required. Otherwise

denied.

      68.   The cited authority speaks for itself. This paragraph also

contains legal conclusions to which no response is required. Otherwise

denied.

      69.   Defendants lack sufficient knowledge or information to admit or

deny these allegations. To the extent a response is required, denied.

      70.   Defendants lack sufficient knowledge or information to admit or
deny these allegations. To the extent a response is required, denied.

      71.   This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.

                          CLAIMS FOR RELIEF

                        COUNT I
     (SUBSTANTIVE DUE PROCESS / PRIVACY AND LIBERTY)

      72.   Defendants incorporate all of their responses to the preceding

paragraphs.

      73.   This paragraph contains legal conclusions to which no response is
required. To the extent a response is required, denied.

      74.   This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.



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                                 COUNT II
                          (Due Process / Vagueness)

      75.     Defendants incorporate all of their responses to the preceding

paragraphs.

      76.     This paragraph contains legal conclusions to which no response is
required. To the extent a response is required, denied.

      77.     This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.

      78.     This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.

      79.     This paragraph contains legal conclusions to which no response is

required. To the extent a response is required, denied.

                            REQUEST FOR RELIEF
      80.     Denied that Plaintiffs are entitled to any of the relief they seek.

                          AFFIRMATIVE DEFENSES
      1.      Plaintiffs fail to state a claim upon which relief may be granted.

      2.      H.B. 481 is constitutional and justified based on one or more of

the following: the State’s interests in protecting the life of the unborn;

promoting respect for life at all stages of pregnancy; protecting maternal
health and safety; and safeguarding the ethics and integrity of the medical

profession.




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        3.   Some or all of Plaintiffs’ claims should be dismissed on grounds of
standing, mootness, or ripeness.

        4.   Some or all of Plaintiffs’ claims are barred by sovereign

immunity.

        5.   To the extent any specific provisions of the Act are found

unconstitutional, the remaining provisions are severable.

        6.   Defendants affirmatively assert generally all defenses to which

they are or may be entitled under 42 U.S.C. § 1983 and FRCP 8(c) and 12(b).

        7.   Defendants reserve the right to identify additional affirmative
defenses as discovery in this case proceeds.

        WHEREFORE, Defendants request dismissal of this action in its

entirety, together with any other relief as the Court deems equitable and
just.




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                                           Respectfully submitted,
Dated:     August 19, 2019


                                           /s/ Andrew A. Pinson
Jeffrey M. Harris (pro hac vice)           Christopher M. Carr
Steven C. Begakis (pro hac vice pending)      Attorney General of Georgia
CONSOVOY MCCARTHY PLLC                     Andrew A. Pinson (Bar #584719)
1600 Wilson Boulevard, Suite 700              Solicitor General
Arlington, VA 22209                        Georgia Department of Law
(703) 243-9423                             40 Capitol Square SW
                                           Atlanta, GA 30334
                                           (404) 651-9453
Patrick Strawbridge (pro hac vice)
CONSOVOY MCCARTHY PLLC
Ten Post Office Square
8th Floor South, PMB #706
Boston, MA 02109
(617) 227-0548

                          Counsel for Defendants




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                    CERTIFICATE OF COMPLIANCE

      I certify that this brief uses 13-point Century Schoolbook in compliance

with Local Rule 5.1(B).

                                             /s/ Andrew A. Pinson
                                             Andrew A. Pinson




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                       CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed

with the Clerk of Court using the CM/ECF system on August 19, 2019,

thereby serving all counsel of record.
                                         /s/ Andrew A. Pinson
                                         Andrew A. Pinson




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